














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-0447-08





JOSEPH HENRY EADE, III, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE FIFTH COURT OF APPEALS

COLLIN COUNTY




	Per curiam. KEASLER and HERVEY, JJ., dissent.


ORDER


	The petition for discretionary review violates Rule of Appellate Procedure 68.5,
because the petition exceeds 15 pages. 

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be
filed in the COURT OF CRIMINAL APPEALS within thirty days after the date of this
order.

En banc

Filed: July 2, 2008

Do Not Publish


